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   X­Mozilla­Status: 0001
   X­Mozilla­Status2: 00000000
   Delivered­To: jed@mtgox.com
   Received: by 10.180.109.232 with SMTP id hv8cs77869wib;
        Wed, 21 Dec 2011 18:18:57 ­0800 (PST)
   Received: by 10.14.48.66 with SMTP id u42mr3472718eeb.59.1324520335858;
        Wed, 21 Dec 2011 18:18:55 ­0800 (PST)
   Return­Path: <chris.raggio@gmail.com>
   Received: from mail­ee0­f53.google.com (mail­ee0­f53.google.com [74.125.83.53])
        by mx.google.com with ESMTPS id q2si4762464eef.172.2011.12.21.18.18.55
        (version=TLSv1/SSLv3 cipher=OTHER);
        Wed, 21 Dec 2011 18:18:55 ­0800 (PST)
   Received­SPF: pass (google.com: domain of chris.raggio@gmail.com designates
   74.125.83.53 as permitted sender) client­ip=74.125.83.53;
   Authentication­Results: mx.google.com; spf=pass (google.com: domain of
   chris.raggio@gmail.com designates 74.125.83.53 as permitted sender)
   smtp.mail=chris.raggio@gmail.com; dkim=pass (test mode) header.i=@gmail.com
   Received: by eekd41 with SMTP id d41so7930555eek.12
        for <jed@mtgox.com>; Wed, 21 Dec 2011 18:18:55 ­0800 (PST)
   DKIM­Signature: v=1; a=rsa­sha256; c=relaxed/relaxed;
        d=gmail.com; s=gamma;
        h=mime­version:date:message­id:subject:from:to:content­type;
        bh=Vp7CQCr8euClRPIbafIqDFlHEi9Nzafei73lCDIWq8c=;
        b=AoQPsA+ikmODkPmTshdfBZOS6SgaqCvOlYVjHOVXWnP4ZePAaKnfeh0pl1by7
   miSQI
         sgSnmATu3iLFI5GycXH1MOVqKnX5tFLZ0s+JCVrqYscISSRcrb5zhWfVSxIV5Ii1A
   N38
         C0LNjdidMMK9Gp8LyEXRUCrzEmFLQWxbXHfXM=
   MIME­Version: 1.0
   Received: by 10.204.157.154 with SMTP id b26mr2658774bkx.101.1324520335577;
   Wed, 21 Dec 2011 18:18:55 ­0800 (PST)
   Received: by 10.204.188.133 with HTTP; Wed, 21 Dec 2011 18:18:55 ­0800 (PST)
   Date: Wed, 21 Dec 2011 20:18:55 ­0600
   Message­ID:
   <CALG=A06VKw­DrrqqnrWmCBLWv5Y04SY9wqoAPotPyh5J1U4seA@mail.gmail.com
   >
   Subject: hey
   From: Chris Raggio <chris.raggio@gmail.com>
   To: Jed McCaleb <jed@mtgox.com>
   Content­Type: multipart/alternative; boundary=0015175dd9e219916504b4a4ecbe

   ­­0015175dd9e219916504b4a4ecbe
   Content­Type: text/plain; charset=ISO­8859­1

   Hey Jed,

   How's everything going? I'm feeling good. I think 2012 is going to be a
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   breakout year for bitcoin in terms of technology maturation, wider
   adoption, and increased exchange value which everyone is so focused on.
   I haven't been doing much with the technology. That is best left to guys
   like you who can code circles around me. I've been studying economics to
   try to understand how a currency as different from anything that has come
   before might change things. It's not easy. Economics is a social
   science and most of it makes no sense at all. Logical thinking is
   disadvantageous to anyone trying to learn what is accepted as truth in this
   field.

   Just to let you know I e­mailed Mark asking him what he intends to do with
   the stolen coins. I haven't heard back from him yet. Originally he said
   he wanted to give "Baron a year to speak for himself." I don't know why
   we would bother with somebody who hides behind an alias and an altered
   passport but whatever. We are approaching the 1 year anniversary of the
   theft.

   I'm not asking you to intervene on my or my father's behalf. Mark is the
   owner of Mt Gox now. It's his call whether he wants to make things right
   with us as he did with Bitomat. My father and I appreciate everything you
   did to investigate and pursue the thief. You didn't have to go to the
   lengths you went to for us. We thank you.

   Have a nice holiday,

   Chris
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   Date: Mon, 30 May 2011 10:52:46 ­0500
   Message­ID: <BANLkTiko0o0TKjz=KURqn4Q­UbJpk6Sbiw@mail.gmail.com>
   Subject: Re:
   From: Don Raggio <donald.raggio@gmail.com>
   To: Jed McCaleb <jed@mtgox.com>
   Content­Type: multipart/alternative; boundary=000e0cdf1bea4ff03304a48047be

   ­­000e0cdf1bea4ff03304a48047be
   Content­Type: text/plain; charset=ISO­8859­1

   Jed,

   Thanks for taking the time to talk to me. If I think of anything cool to
   do with bitcoin I'll let you know. Near the end of the call you asked
   about the situation with Baron. Here is what I know. Last I heard from
   Mark was that Baron was not willing to give the coins back voluntarily.
   Baron said that he wanted access to his funds. Mark said that he didn't
   feel comfortable just unilaterally handing the coins over to me. These funds
   I assume he is speaking of are the ones that you froze. Mark said that
   to resolve the issue he was seeking a "judgement" in a court, but that due
   to the disaster in Japan "legal processing" would be held up until later
   this year. That's honestly what he told me. I am glad you did what you
   could to take action against this scammer. Hopefully this will work and I
   will get the coins back. And if for some reason that doesn't work out
   maybe bitcoin will hit 1000 and what we will have more than enough
   regardless. By the way somebody did move the funds that were stolen from
   the address in a transaction dated 4­28. I asked Theymos to look at the
   block explorer and he reported the following.

   "The scammer sent 2000 BTC to an address, and that address sent 200,000 BTC
   to MtGox: I'm pretty sure 1MqsE... is a MtGox address. You should inform
   Mark about this new development. The person who made that 200,000 BTC MtGox
   deposit is either the scammer or someone who delt with him directly."

   Mark claims that the address in question is not a MtGox address and
   that MtGox received no deposit as large as 200,000 BTC. Mark said that he
   didn't see any action that he could take at this time. I'll try to keep in
   touch with Mark (hopefully without pestering him). I'll keep you posted on
   the outcome.
